HARRY E. AND SHELLY RIGSBY, Petitioners v. COMMISSIONER OF INTERNAL REVENUE, RespondentRigsby v. CommissionerDocket No. 3432-71.United States Tax CourtT.C. Memo 1976-176; 1976 Tax Ct. Memo LEXIS 226; 35 T.C.M. (CCH) 780; T.C.M. (RIA) 760176; June 7, 1976, Filed Harry E. Rigsby, pro se.  1Richard D. Hall, Jr., and Frederick T. Carney, for the respondent.  DAWSONMEMORANDUM FINDINGS OF FACT AND OPINION DAWSON, Chief*227  Judge: This case was assigned to and heard by Special Trial Judge Randolph F. Caldwell, Jr., pursuant to Rules 180 and 182, Tax Court Rules of Practice and Procedure.  The parties have filed no exceptions of law or fact to Special Trial Judge Caldwell's report.  The Court agrees with and adopts his opinion which is set forth below.  OPINION OF SPECIAL TRIAL JUDGE CALDWELL, Special Trial Judge: This case was one of a group of 37 which were consolidated for trial, but not for opinion.  At the trial, evidence was received which bears upon every case in the group.  Such evidence relates to certain contractual arrangements between the husband-petitioners' employers, Lockheed Aircraft Service Company (hereinafter, "Lockheed") and Dynalectron Corporation (hereinafter, "Dynalectron"), and the United States Air Force, as well as the employment arrangements between field team members (such as the husband-petitioners) and such employers.  Respondent determined a deficiency in petitioners' 1969 Federal income taxes in the amount of $53.82.  The only issue for decision is whether all or any portion of the per diem payments received by petitioner Harry Rigsby (hereinafter, "petitioner") *228  from Dynalectron in 1969 is includible in his gross income for such year under section 61(a)(1) of the Internal Revenue Code of 1954; 2 and, if so, whether petitioner is entitled to deduct an amount equal to all or any portion of the includible per diem payments, as away-from-home traveling expenses under section 162(a)(2).  FINDINGS OF FACT Petitioners, husband and wife, filed their 1969 return with the Internal Revenue Service Center at Chamblee, Georgia.  The evidence of record does not establish their residence at the time they filed their petition in the instant case.  Petitioner was employed by Dynalectron as a field team member during a portion of 1969.  That corporation, as well as Lockheed, had a contract during such year with the United States Air Force to provide field team services for the maintenance and modification of weapons systems (i.e., aircraft) and/or support equipment.  These contracts were called "basic contracts" and the Air Force entered into such a contract with each of three different contractors. The contracts were for three*229  years maximum duration, and those involved here were for the three fiscal years, July 1, 1967-June 30, 1968; July 1, 1968-June 30, 1969; July 1, 1969-June 30, 1970.  The contract was firm for the first of the three years; but the Air Force had the unilateral right to extend the contract for the second and third years of the three-year period.  The contracts were so extended by the Air Force insofar as both Lockheed and Dynalectron were concerned.  (The record herein does not identify the third contractor who had the basic contract.) The basic contract did not, of itself, award any work to be performed thereunder.  It did specify the wage rates which would be paid for services rendered by employees of the contractor, if the contractor got work to be performed under the contract.  The contract also contained the following provisions relating to the payment of per diem: (ii) Per Diem, not to exceed the applicable amounts set out below, when actually paid by the Contractor and approved by the Administrative Contracting Officer, shall be reimbursed to the Contractor, without regard to the duration of the assignment; provided, however, that no per diem shall be authorized or paid to*230  any employee whose actual residence is within 50 miles of the work station to which the employee is assigned, nor shall any per diem be paid to any employee who actually resides at and commutes from his actual residence during the period of his employment, regardless of the distance between said residence and his assigned work station: (See (ii) (e) below).  (a) In the CONUS (No quarters and messing facilities furnished by the Government)--$11.00-Per day per man for Engineer and Leadman and $9.00-Per day per man for the remainder.  * * * * *(e) For the purpose of this contract the term "actual residence" is defined as the fixed or permanent domicile of an employee.  The employee shall certify to the location of his fixed or permanent domicile and this location, if accepted by the Contractor, shall be deemed, for the purpose of this contract, to be the employee's domicile in so far as per diem authorization against this contract is concerned.  However, this does not relieve the Contractor of his responsibility to ascertain that the certification is valid.  The opportunity for the contractor to perform under the basic contract arose from the issuance by the Air Force of a*231  work order thereunder.  Issuance of a work order was entirely within the discretion of the Air Force, and it alone had the discretion to select which one of the three holders of a basic contract that was to perform the work order. Performance under a work order might be at any place in the United States or at any place overseas where the Air Force maintained a base.  Under the terms of the basic contract, work orders could only be issued during a given year of a basic contract.  However, completion of a work order actually issued during such year might be effected after the end of the year.  When the Air Force had determined to issue a work order and had notified a contractor of its selection to perform that order, representatives of the Air Force and of the contractor would get together at a "pre-dock" meeting where the time for completion of the contract and the make-up of the contractor's projected field team complement would be worked out.  Determination of the time of performance entailed fixing an input-output schedule -- the schedule which showed the number of units coming into the contractor for its maintenance and modification services per day or week or month, and the number*232  of units to be completed by the contractor per day or week or month.  After the projected field team complement had been worked out, the contractor would then proceed to get the team together.  In assembling the team, the contractor would utilize two sources of manpower: (1) existing employees which it transferred from jobs under other work orders; and (2) new employees which it recruited.  Whenever a contractor hired a new employee for field team work, that employee was advised that he was subject to being sent anywhere that the contractor might be called upon to perform a work order, and that if the employee was unwilling to travel where thus directed to go, his only alternative was to resign.  The employee was also advised that the contractor only had a basic contract for a year and that it had no way of knowing whether or when it would receive work orders under that contract.  It was also made clear to the employee that, while the contractor would endeavor to continue to utilize the services of the employee after completion of the work order in connection with which he was hired, it could not guarantee any such further employment: and if none were available, the employee would*233  be laid off.  Neither Lockheed nor Dynalectron maintained any pool or central area where an employee who had completed an assignment could be sent pending the contractor getting another work order on which such employee could be used.  Both Lockheed and Dynalectron were involved in the performance of work orders at Key Field in Meridian, Mississippi, during the years involved.  3Lockheed had first come to Meridian in 1965 and it remained there until June 30, 1969, at which time (although it did not lose its status as holder of one of the three basic contracts) it was supplanted by Dynalectron.  During the fiscal year ended June 30, 1969, Lockheed received two work orders to be performed at Meridian; and during the succeeding fiscal year, Dynalectron likewise received two work orders.  While in most instances, the contractor's field teams were sent to the location where the aircraft were located, in the case of the work orders performed at Meridian, the aircraft were brought by the Air Force to that work site from other locations.  *234  During the performance of a work order, the Air Force always had an on-site representative, monitoring the performance of the contractor. One of the areas of concern was to determine whether the field team was over strength or under strength, as well as the quality of work of the field team members.  Instances occurred when the composition of the field team was changed as the result of the recommendation of the Air Force's on-site representative.  For this reason, as well as for the reason that the composition of the field team varied according to the nearness in point of time to the beginning or the end of the performance under the work order, the projected field team complement as worked out at the pre-dock meeting might vary as much as 10 to 20 percent during the performance of the contract.  When an employee was hired, or rehired, by a contractor, he was required to certify to the contractor his "permanent or domicile" address (in the case of Lockheed) or his "fixed or permanent domicile" (in the case of Dynalectron).  If the address so certified was further than 50 miles from the job site where the employee was to work and if the employee did not drive back and forth to work, *235  irrespective of the address which he had furnished, he was paid the per diem mentioned and described above.  The per diem payments made by the contractors were included in their invoices to the Air Force, solely for the purpose of being reimbursed.  There was no element of profit to the contractors in the per diem for which they sought reimbursement.  Per diem paid to the field team employees who qualified therefor was at the rate of $11 per day for a leadman and an engineer, and $9 per day for the other members of the field teams. Per diem was paid for seven days per week, although the regular work week for field team members was a 5-day, 40-hour week.  Field team members also received per diem during their initial travel to a work site, for days of travel when transferred to different work sites, and for a maximum of three days for return to their homes, in the event they were laid off.  They did not receive per diem during vacation periods; but they did receive per diem for three days up to a maximum of six days if they were sick.  Neither Lockheed nor Dynalectron withheld Federal income tax from the per diem payments made to their employees.  Petitioner was hired by Dynalectron*236  in the fall of 1969, and was assigned on November 17 of that year to Key Field at Meridian, Mississippi.  He remained there for the balance of the year 1969 and until January 14, 1972, when he was transferred to Eastover, South Carolina.  At the time he was hired by Dynalectron, petitioner advised his employer that his "fixed or permanent domicile" was St. Augustine, Florida.  Petitioner had moved from Nitro, West Virginia, to the Jacksonville, Florida, area in 1964.  At some time prior to hiring on with Dynalectron, petitioner was living in St. Augustine.  In July or August of 1969, he purchased a residential property at 9 Rohde Avenue in St. Augustine.  Petitioner's wife was ill and in an institution during 1969.  He brought their two children from West Virginia to live with him and engaged the services of a housekeeper to care for the children and to attend to the housekeeping.  The children and the housekeeper remained at the Rohde Avenue house while petitioner was working in Meridian in 1969.  Petitioner received per diem payments of $288 from Dynalectron in 1969, which he did not include in gross income on his return for that year.  In his statutory notice of deficiency, *237  respondent determined that such amount was includible in petitioner's 1969 gross income, under section 61.  OPINION It must first be determined whether the $288 of per diem payments received by petitioner from Dynalectron in 1969 are includible in his gross income for that year.  It is believed that they are.  In very broad language, section 61(a)(1) provides that "gross income means all income from whatever source derived." The Supreme Court has construed this "broad phraseology" to evince a Congressional intention "to tax all gains except those specifically exempted." Commissioner v. Glenshaw Glass Co.,348 U.S. 426"&gt;348 U.S. 426, 430. The per diem payments were "undeniable accessions to wealth, clearly realized and over which the [petitioner had] complete dominion," ( Commissioner v. Glenshaw Glass Co.,supra, p. 431); and the Code contains no provision exempting per diem payments from taxation.  Manifestly, then, respondent was correct in including in petitioner's gross income for 1969 the per diem payments which he received from Dynalectron in that year.  Leo C. Cockrell,38 T.C. 470"&gt;38 T.C. 470, 477-478, affd. (8th Cir.) 321 F.2d 504"&gt;321 F.2d 504;*238 Darrell Spear Courtney,32 T.C. 334"&gt;32 T.C. 334, 341. 4The question remains whether petitioner is entitled to deduct under section 162(a)(2) an amount equal to all or any portion of the includible per diem, as expenses for travel while away from home in pursuit of his trade or business as an employee of Dynalectron, Leo C. Cockrell,supra, p. 479. In the Cockrell case, it was pointed out that the Supreme Court in Commissioner v. Flowers,326 U.S. 465"&gt;326 U.S. 465, rehearing denied 326 U.S. 812"&gt;326 U.S. 812, had laid down three requirements that a taxpayer must meet to be entitled to deduct away-from-home expenses: The expenses must be (1) reasonable and necessary traveling expenses, (2) incurred by the taxpayer while away from home, and (3) incurred in pursuit of business.  In the present case, the parties differ only on the point of whether petitioner was away from home.  Respondent does not contend that petitioner did not maintain two places of abode and thereby incur those additional and duplicate living expenses, the burden of which the deduction afforded by section*239  162(a)(2) is designed to mitigate.  Truman C. Tucker,55 T.C. 783"&gt;55 T.C. 783, 786. Rather he contends only that petitioner's assignment at Key Field was indefinite, as opposed to temporary. It is not believed that that contention is meritorious.  Bearing in mind the contractual arrangements between Dynalectron and the Air Force and the employment arrangements between petitioner and Dynalectron -- all as described in the Findings of Fact -- it is believed that petitioner's assignment to Key Field, viewed as of December 31, 1969, when it was only of some six weeks' duration, must be regarded as only temporary. Respondent urges, correctly, that an assignment temporary in its inception, may with the passage of time be transformed into an indefinite one.  However, it is not believed that by December 31, 1969, the point for such a transformation had been reached by petitioner in relation to his assignment at Key Field.  Petitioner should be allowed a deduction under section 162(a)(2) of $288, the amount of includible per diem. A decision of no deficiency should be entered.  * * * * *In accordance with the foregoing, Decision will be entered for petitioner.  Footnotes1. DeQuincy V. Sutton was counsel of record for petitioners at the time of trial.  Mr. Sutton died in August 1974, shortly after the last brief was filed.  There is presently no counsel of record for petitioners.↩2. All section references are to the Internal Revenue Code of 1954, unless otherwise specified.↩3. The petitioner-husband in the present case, as well as all the other husband-petitioners, worked at Key Field in Meridian.  It is this work at Meridian that is the common element that prompted the consolidation of the cases for trial.↩4. See also Fred W. Phillips,T.C. Memo. 1973-58↩.